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Cause Number /7 ~ L7/O /?O

(Compleze me heading so a 10ng mary ake rae Peeamu; "; § '

J_a.Sd'r\ R §err_ ' C|,`,_f.\¢,r |\

 

 

 

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'Trvb-{-¢.e.» Far PA-, ah ?~¢H'bl€urh ,. Ih c~ ln the (check one): f _
Plainarr (PraaFull Name) tr l"c_auary,\ceaa errata 1

iii lessee comr (JP)

vs a
gaf/lwva b. lrlcvcmmem£, _Mcounry; Te§§§" l

Defendant (Print Full Name)

 

Warning: lf you have access to a lawyer, you should consider talking to your lawyer before illing
out this form. You may accidentally give up important legal rights if you iile this form With the Court
without first consulting With a lawyer. For help finding a lawyer, call your local law referral service.
You may also be able to talk to a lawyer for free at a legal advice clinic. For help finding a free legal

advice clinic go to www.Tchs Lawl-.lelp.org,

lnstructions: If you decide to use this Defendant fr Answer form:

- lt does not cost anything to till out or file this form.

- You must iill out this form completely and sign it before filing it.

- Turn in your completed answer form at the Comthotise Where the Pez‘irion was filed and send a
copy of the completed form to the Plaintiil` or the Plaintifl”s attorney

- Keep a copy of all documents for your records

- Attach: 0 Any documents that you refer to in this form.

O Any additional pages as needed to complete paragraphs that don’t provide enough
space. Write the paragraph number on each additional page.

- If you have been scrved, you have a limited time to file an answer. ln county/district court, the
answer is due at 10 a.m. on the Monday following 20 days from When you were served. In JP/
Justice Court, the answer is due by the end of the 14th day after you Were served. If the 14th day
is a Saturday, Sunday, or legal holiday, your answer is due by the end of the first day following
the 14th day that is not a Saturday, Sunday, or legal holiday. If you do not file an answer by the
deadline, the Plaintifl` can ask the court to enter a default judgment against you.

 

 

 

Defen dant’s Answer

l. DEFENDANT’S INFORMATION

N/W/ z>. /44¢.,,40,1/

Ffrst Name (Prc“nf Full Name)

/Q@s§ /4,¢55<2 M;~/

 

 

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Cz'ty S£are Zi;)
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P}wne Emrtil

l am the EGndant

|:| Attorney for the Defendant and my Texas Bar number is

 

    

 
 

   

 

ANSWER

I request notice of all hearings in this case.

Procedure Rule 5 02.2(b)).

Note.' Entering a general denial does not prevent you from raising other defenses at

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General Denial: I deny all of the Plaintifi"s allegations in this complaint or petition".

 

 
   
 
 

  

` . exas Rules of Civil

SPECIFIC PLEAS MADE UNDER PENALTY OF PERJURY

T his section may not apply to everyonel Reaa' the full list to determine ifit applies to you. lf you cliech any plea below,
be sure to also complete Seciion 6. Read Texas Rules of Civil Procedure Rule 93for a complete list ofspeci]ic pleas
that must be verified or made under the penalty of perjury

l:l The plaintiif does not have the legal capacity
to sue or the defendant does not have the legal
capacity to be sued.

° The plaintijj'does not legally own the debt

|:| The plaintiff is not entitled to recover in the
capacity in which he sues, or the defendant is not
liable in the capacity in which he is sued.

- The account is not my account

' l arn not the person who incurred the debt_

' l did not authorize the charges on the account

' No contract was ever signed between me and the

plain aff

I:l There is another suit pending in this State
between the same parties involving the same
claim.

' l have already been sued by the same parlyfor
the same debt

l:l There is a defect of parties, plaintiff or
defendantl

° l arn not the person who incurred the debt.
~ l arn not the person who placed charges on the
account

|:l Denial of the execution by himself or by his
authority of any instrument in writing, upon
which any pleading is founded, in whole or in
part and charged to have been executed by him
or by his authority, and not alleged to be lost or
destroyed.

' The debt is based on a contract that l did not
sign or otherwise agree to.
' The account is not my account

l:l A written instrument upon which a pleading
is founded is without consideration, or that the
consideration of the same has failed in whole or
in'part.
- l did not receive anything in exchange for
signing the contract on which the debt is based

l:l A denial ofran account which is the
foundation of the plaintiil"s action

- The account is not my accountl
- l did not authorize any charges to the account

[:] Acontract sued upon is usurious. Unless such
plea is tiled, no evidence of usurious interest as a
defense shall be rcceived.

' The contract that the debt is based on includes
illegal or extremely high interest rates_

l:l Upon information and belief, I am unable
to determine whether the transfer of debt was
correctly executed and is genuine.

' Plaintijj‘"has not proven that it can legally
collect this debt.

- Plainti]j"has not proven that it owns this debt.

- Plainti]?`cannot use only parts of a document to
prove it owns the debt but must introduce the
entire document

 

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AFFIRMATIVE DEFENSES

Thr`s section may not apply to everyone Read the full list to determine ifit applies to you. lj' you check any plea below,

Page 3 of 5

be sure to also complete Section 6_ Read Texas Ruies of Civil Procedure Rule 94 for a list ofa_j‘irmative defenses Aslt

a lawyer which ajirmative defenses apply to your case.

Note: An ajj'irmative defense is an independent reason that the Plainti]j"should not win the lawsuitl l_'f an affirmative i'
defense is successful you could win the lawsuit, even if what the Plaintr]jfsays is true. Ifyoujile an answer and do :
not claim an a_jirmative defense you may not be able to claim the defense later. A few specific examples of when the

particular defense may arise can befound in italics below the defense categoryl Further explanation of each aj‘irma-

tive defense can be found at lrtips://texaslmvhelp.ora/resource/ah‘irman`ve-defenses-guide-inl`or'mation-and-exanroles.

i:i payment
' The debt has been paid in full or excused
(Fill out payment information belo w)
l already paid the debt sued for.
I paid $

 

to

 

011

by

 

(date)

 

(checlt, cash, etc,)

l:l statute of limitations

' The debt is more than 4 years old (i.e. the debt is
more than 4 years past due).

i:l The complaint fails to state a claim on which
relief can be granted.

- The complaint does not state why they are enti-
tled to collect any moneyfmm me.

i:i accord and satisfaction

' l paid an amount ofmoney less than the amount
the plainti)jr is asking for and that amount was
accepted as satisj)ing the debt.

l:l arbitration and award

- T his dispute has previously been decided in
arbitrationl

i:i contributory negligence

' Ajl‘er taking my propertyJ the creditor or its
representatives did not sell the property in a
commercially reasonable manner

' A]‘ter taking my property the creditor or its
representatives did not give me proper notice
(i.c. did not tell me) oj`the date, time, and place
of sale.

' T he creditor failed to mitigate damages (i.e. the
creditor failed to take actions to protect itself
and/or minimize the amount ofthc alleged
debt).

i:\ discharge in bankruptcy

‘ This debt has been discharged in bankruptcy

' Check this box if you pled bankruptcy ajier you
got this debt and the debt was included in your
bankruptcy case.

|:| duress

- The creditor physically forced me to agree to the
contract

- The creditor threatened me in order to get me to
agree to the contractK

l:| estoppel

' l relied on a statement that the debt was paid '
and that no further payrn ents were required

- l was a cosigner but was not informed of my
rights as a cosigner.

l:l failure of consideration

° I never received the goods and/or services thatl
was promised in exchange for the debt.

' The products and/or services l was promised
in exchange for the debt were defective or
unacceptable

- The debt is based on a contract jbr which l did
not receive anything in exchange

- The debt is based on a contract thatl did not
sign or otherwise agree to.

|:| fraud

' The creditor lied to me or tricked me to get me to
agree to the contract that the debt is based on.

\:i illegality

' T he debt is based on a contract that is illegall

|:l laches

- The creditor unreasonably delayed in bringing
the claims against me and the delay made it
more di§‘icult for me to assert my rights or
defenses.

(List ofAl'hrmative Defeoscs continued on page 4)

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(Aliirmative Del`enses cont’d from page 3)

i:i release l:i res judicata
- I previously paid the debt infull. ° Another court has already decided the issues in
' Ipaid an amount ofmoney less than the amount this complaint
the plaintiffs askingfor and that amount was
accepted as satis]j)ing the debt ij waiver
' I legally cancelled the contract and dc not owe _ 1 _ v _ _ _
anything ' Tlie. creditor gave up his rights, either orally or rn
' The creditor cancelled the contract and is not wrnmg’ w hung charges against me'
entitled to payment

I reserve the right to file an Amended Det'endant’s Answer with the Court to plead additional verified
pleas, atlirrnative defensives and claims, cross-claims or third-party claims, as applicable, after further
investigation and discovery.

REQUEST ron JUI)GMENT

Yau can also add anything in the blanks below.

m court to dismiss the Corg@
I ask the court to award me attorney fees and cour s.
l ask the Plaint:iil` take nothing from this lawsuit
I also ask for such relief as the court finds equitable and just.

M@M_;QLMA€@LMV.

Respectfully submitted,
/% 7'//$ Sigu lmrng § § ; '§E ‘/v@>

pace
need

 

 

 

 

 

Typed or Printed Name

mstand that l must let the Conrt, the Plaintifl"s lawyer (or the Plaintiff if the Plaintiff does not
have a iawyer), and any other party er lawyer in this case know in writing if my mailing address or
email address (listecl on page l) changes during this case.

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UNSWORN DECLARATION MADE UNI)ER PENALTY OF PERJURY

Onlyfill out this portion ifyon selected a plea or defense in either part 3 "Specg}'ic Pleos Made Under Penalty of
onerqu " or part 4 "Ajirmotive De_j?znses ” of this jor'in.

I make this unsworn declaration under the penalty of perjury in place of verilication as allowed by Texas
Civil Practices and Remedies Code Section 132.001.

 

 

 

 

My name is:
First Middle Lnst
My date of bi1th is: / /
Month Doy Yeor
My address is:
Street
Citj) Stote Zip Conntij)

I declare under penalty oi`perjury that the statements in the Defendant’s Answer are true and correct.

 

 

 

Formally executed under penalty of perjury in County,
on the day of ,

Montli Yeor
:;>

 

Defendnnt’s Signatnre

CERTIFICATE OF SERVICE

l certify that l sent a copy cf this document to the Plaintiil"s lawyer or the Plaintif_’l` (if the Plaintid` does not have
a lawyer) on the same day this document was tiled with (turned in to) the Court as follows: (Clzeck one.)

§)htough the electronic tile manager if the document is being electronically liled
by certified niail, return receipt requested
l:l by fax, to faa #:

 

l___i by personal delivery
l:i by entail to this email address:

 

 

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